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                                 IN THE UNITED STATES DISTRICT COURT--,,,,                                            Efrifi-rfriD
                                                                                                                      F.CENL:0
                                     FOR THE DISTRICT OF MARYLAND —
                                                                                                      APR - 4 2019
UNITED STATES OF AMERICA                                                                                 AV:NMI:Jai
                                                                                                     CLEW C:STR!CT MAT
                                                                                                      earmoT   waett-r,
                    V.                                                               Case No. vCBD 19-mj-01151-1

Ronde11 Henry




                         ORDER APPOINTING FEDERAL PUBLIC DEFENDER


          The above named Defendant having been found to be indigent and entitled to

appointment of counsel under the Criminal Justice Act, and the government having proffered that

they know of no conflict precluding appointment of the Public Defender,

          IT IS ORDERED this 4th                                 day of               April            , 2019 , that the

Federal Public Defender for the District of Maryland is appointed to represent the above named

Defendant.




                                                                             Charles B. Day
                                                                             United States Magistrate Judge




U.S. District Court (4/2000) Criminal Magistrate Forms: Appointing Counsel
